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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 – – – – – – – – – – – – – – – – –– – – – – – – – – – – – X

 ________________________________________,

                                Plaintiff,                       Docket No.

                v.                                               (__________________, J.)
                                                                 (Marutollo, M.J.)
 ________________________________________,

                                Defendants.

 – – – – – – – – – – – – – – – – –– – – – – – – – – – – – X


                            DISCOVERY PLAN AND SCHEDULING ORDER

       Upon consent of the parties, it is hereby ORDERED as follows:

1.     The date for completion of automatic disclosures required by Fed. R. Civ. P. 26(a)(1), if

       not yet completed: _________________________

2.     No amendment of the pleadings will be permitted after: _________________________

3.     No additional parties may be joined after: _________________________

4.     Fact discovery shall be completed by: _________________________

5.     Plaintiff(s) shall make required Fed. R. Civ. P. 26(a)(2) disclosures, if any, by:

       _________________________.

6.     Defendant(s) shall make required Fed. R. Civ. P. 26(a)(2) disclosures, if any, by:

       _________________________

7.     All     discovery,    including       expert       discovery,   shall   be   completed   by:

       _________________________. (Presumptively 30 days following the final exchange of

       expert reports)



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8.    Have the parties discussed the existence of electronically stored information (ESI) and

      discussed the location and production of such information, as required by Fed. R. Civ. P.

      26? Yes____ No ____

9.    Have the parties entered into an ESI protocol? Yes____ No ____ Not Applicable____

10.   Final date to take the first step in dispositive motion practice, if any:

      ________________________________. (If the parties do not consent to the jurisdiction

      of United States Magistrate Judge Joseph A. Marutollo, parties are directed to consult the

      District Judge’s Individual Practices and Rules regarding such motion practice. The date

      is presumptively 30 days after completion of expert discovery)

11.   Do the parties wish to be referred to the EDNY’s Court-annexed mediation program

      pursuant to Local Civil Rule 83.8? ____ Yes ____ No

12.   Do the parties consent to trial before a United States Magistrate Judge pursuant to 28 U.S.C.

      § 636(c)? ____ Yes ____ No (Answer “no” if any party declines to consent without

      indicating which party has declined)




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       This Scheduling Order may be altered or amended only upon a showing of good cause not

foreseeable as of the date of this order.

CONSENTED TO BY:

 Attorney for Plaintiff                            Attorney for Defendant(s)

 Name:                                             Name:




 Address:                                          Address:



 Telephone:                                        Telephone:

 Email:                                            Email:




                                            SO ORDERED:

Dated: Brooklyn, New York
       _________________


                                            JOSEPH A. MARUTOLLO
                                            United States Magistrate Judge




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